          MEMO
          Case     ENDORSED Document 22 Filed 12/01/20 Page 1 of 1
               1:19-cr-00766-ALC
                                     U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     November 23, 2020

BY ECF

Honorable Andrew L. Carter, Jr.
United States District Judge
Southern District of New York                                                          12/1/2020
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Johnny Nunez Garcia, 19 Cr. 766 (ALC)

Dear Judge Carter,

        A status conference in this case is scheduled for Friday, December 4, 2020 at 10:00 a.m.
The Government writes to request that the conference be adjourned approximately 45 days to a
date after January 12, 2021. Since our last adjournment, the parties have engaged in significant
discussions about a possible pretrial disposition of the case, and defense counsel has conveyed
that this additional adjournment period will allow them to confer with the defendant and decide
whether to accept the Government’s proposed offer. The defense thus joins in this request to
adjourn the upcoming conference date.

         The Government also requests that, in the interests of justice and pursuant to 18 U.S.C.
§ 3161(h)(7), time under the Speedy Trial Act be excluded between December 4, 2020 and the
new conference date, so as to allow for the parties to continue their plea discussions and the
defendant to consider a pending offer to resolve the case short of trial. Defense counsel consent
to this request, as well.

                                                     Respectfully submitted,

                                                     AUDREY STRAUSS
                                                     Acting United States Attorney
                                                     Southern District of New York

                                                     ________________________________
                                                     Frank J. Balsamello / Adam Hobson
                                                     Assistant United States Attorneys
                                                     (212) 637-2325 / -2484

cc: Aaron Mysliwiec, Esq., and Christopher Madiou, Esq., counsel for the defendant (by ECF)
 The application is granted. Status conference adjourned to
 2/18/21 at 12:00 p.m. Time excluded.
 So Ordered.
                                                           12/1/20
